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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


 JASON LEOPOLD, BUZZFEED INC.,               )
                                             )
              Plaintiffs,                    )
                                             )
 v.                                          )       Case No. 1:19-cv-02798-RC
                                             )
 DEFENSE INTELLIGENCE AGENCY,                )
                                             )
              Defendant.                     )
                                             )

                                      JOINT STATUS REPORT

        Pursuant to this Court’s May 26, 2020 Minute Order, the parties hereby submit their joint

status report for this Freedom of Information Act (“FOIA”) action. Defendant Defense

Intelligence Agency (“DIA”) provides the following information updating its FOIA operations

since the last joint status report:

        Since the last filing, Defendant has now processed 204 of the 228 records that had been

identified in March 2020, prior to the COVID-19 pandemic, and has provided Plaintiffs with

nonexempt records in response to their FOIA request. There are 24 records that remain to be

processed.

        Defendant advises that there are 8 records to be completed by the date of the next

interim production. An additional 5 documents have been sent to an outside government

agency, and another 11 records require multiple internal and external assignments for

consideration. Defendant will provide Plaintiffs with a 16 th interim production by July 29,

2022, with the goal of producing 8 records, and additional documents subject to receiving final

responses.
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        Defendant is committed to moving as expeditiously as possible on processing and

 producing non-exempt portions of the records; however, what it can produce depends upon

 subject matter expert availability to conduct the reviews, the staffing of the other government

 agencies, and how quickly those other government agencies can provide Defendant with a

 response. For the remaining 24 records, Defendant anticipates completing its processing of

 them on a rolling basis within 30 days of receiving a final response resulting from the review

 by the other governmental agencies and subject matter experts with equities in a document.

        The Parties continue to discuss issues related to Plaintiffs’ request. The Parties

 suggest that they continue their communications and propose filing another joint status

 report within 31 days, on or before August 10, 2022.


                                             Respectfully submitted,

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                                             /s/ Lisa A. Olson
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